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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
Norfolk Division
MARTIANCRAFT, LLC,
Plaintiff/Counter-Defendant,
Vv. CIVIL NO. 2:22cv432

BENJAMIN BROOKS,

Defendant/Counterclaimant.

ORDER

This matter comes before the court on Defendant’s Objections
to the Magistrate Judge’s Report & Recommendation (“R&R”)
regarding MartianCraft, LLC’s (“MartianCraft”) Motion to Dismiss
Benjamin Brooks’ (“Brooks”) Counterclaim, ECF No. 32. For the
reasons explained below, Brooks’ Objections to the R&R, ECF
No. 32, are OVERRULED and the Magistrate Judge’s R&R, ECF No. 30,
is AFFIRMED.

I. BACKGROUND AND PROCEDURAL HISTORY

Although the Magistrate Judge provided a thorough summary of
the relevant factual background and procedural history in this
case, see ECF No. 30 at 1-4, which neither party contests, the
court finds it important to repeat the pertinent facts before

addressing Brooks’ Objections to the R&R.}?

1 At the motion to dismiss stage, the court “accept[s] as true
all of the factual allegations contained in the complaint,” or in
this case, the counterclaim. See Erickson v. Pardus, 551 U.S. 89,

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MartianCraft is a software development company that is
governed by an Operating Agreement (“OA”). ECF No. 9 atl. Critical
to Brooks’ Counterclaim is the OA’s indemnification clause, which

states that

[MartianCraft] .. . agrees to indemnify each Indemnitee
(defined below) . . . for any judgments, settlements,
penalties, fines, expenses and attorneys’ fees incurred
in a proceeding to which the Indemnitee is a party
because it is an Indemnitee. The term “Indemnitee” for
purposes of this Section . . . means any Member or
persons to whom the Members have delegated authority
pursuant to Section 5.2 [of the OA], as well as any
person acting on behalf of a Member pursuant to legal
authority.

ECF No. 9 at 5 (quoting ECF No. 14-4 at 6).

On November 8, 2017, Robert Rhyne (“Rhyne”) and Nathan Eror
(“Eror”), who, at the time, represented a majority of the members
who had signed the OA, executed a written Consent of Members in
Lieu of Meeting (“November Consent”) to remove Kyle Richter
(“Richter”) from his positions as Chief Executive Office (“CEO”)

and member of the Board of Directors, and replace him with Brooks.?

94 (2007); Venkatraman v. REI Sys., Inc., 417 F.3d 418, 420 (4th
Cir. 2005) ("In considering a motion to dismiss, we accept as true
all well-pleaded allegations and view the complaint [or
counterclaim] in the light most favorable to the plaintiff [or
counterclaimant].") (citing Mylan  Labs., Inc. v. Matkari,
7 F.3d 1130, 1134 (4th Cir. 1993)). Therefore, Brooks’ Counterclaim
forms the basis of this background section, and all facts and
inferences are drawn in his favor.

2 The November Consent was ratified in its entirety on
May 23, 2018, when Robert Rhyne, Nathan Eror, Joe Keeley, and Nick
Keppol executed a second Consent in Lieu of Meeting. ECF
No. 9 at 2-3.
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Id. at 1-2. Then, “[i]n December 2017, MartianCraft (acting through
its managers identified in the [November] Consent) filed a
Complaint in the Circuit Court of the City of Richmond, Virginia
(the “Richmond State Court”)” against Richter, the former CEO, for
misfeasance and malfeasance. Id. at 3. After much litigation, the
Richmond State Court ultimately returned control of MartianCraft
to Richter.? Id. at 3-4.

On October 18, 2022, MartianCraft filed a Complaint against
Brooks in this court, ECF No. 1, which was amended on
January 5, 2023, and asserts claims for breach of contract, unjust
enrichment, statutory and common law conspiracy, and conversion.
ECF No. 11 at 21-27. In addition to filing motions to dismiss
MartianCraft’s original Complaint, ECF Nos. 7, 8, and the Amended
Complaint, ECF No. 15, 16, Brooks also filed a Counterclaim against
MartianCraft, in which he seeks a declaratory judgment that he is
entitled to indemnification “for all judgments, settlements,
penalties, fines, expenses and attorneys’ fees that have been
incurred and/or may be incurred as a result of the litigation

pending in the Richmond State Court and/or otherwise stemming from

3 The Magistrate Judge provides a more thorough summary of
the procedural history in the Richmond State Court case, which is
incorporated herein by reference. See ECF No. 30 at 3-4. In that
case, Richter brought a counterclaim against the parties. Id.
Brooks was dismissed as a party to Count I (Declaratory Judgment) ;
Count III (Statutory Conspiracy), as it pertains to Brooks, is
still pending before the Richmond State Court. Id.

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this litigation,” and monetary damages for breach of contract due
to MartianCraft’s failure to indemnify him for such under the OA.
ECF No. 9 at 5-9.

On January 12, 2023, MartianCraft filed a Motion to Dismiss
Brooks’ Counterclaim. ECF Nos. 13, 14. Once both parties submitted
their responses in opposition to the other party’s motion to
dismiss, ECF Nos. 17, 18, and corresponding replies, ECF
Nos. 19, 22, the undersigned district judge referred the pending
motions to Magistrate Judge Lawrence R. Leonard “to conduct
hearings, including evidentiary hearings, if necessary, and to
submit to the undersigned district judge proposed findings of fact,
if applicable, and recommendations for the disposition of the
Motion to Dismiss Counterclaim and Motion to Dismiss Amended
Complaint.” ECF No. 24.

On March 8, 2023, the Magistrate Judge held a hearing on the
pending motions to dismiss. ECF No. 27; see ECF No. 28
(Transcript). An R&R on Brooks’ Motion to Dismiss was filed first
on June 2, 2023, whereby the Magistrate Judge recommended that his
Motion to Dismiss MartianCraft’s Amended Complaint be denied, ECF
No. 29. And on June 8, 2023, a second R&R was entered addressing
MartianCraft’s Motion to Dismiss the Counterclaim, where the
Magistrate Judge recommended that MartianCraft’s Motion to Dismiss
be granted, ECF No. 30. Pursuant to 28 U.S.C. § 636(b) (1) and

Federal Rule of Civil Procedure 72(b), the parties were advised of
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their right to file written objections within fourteen (14) days,
to which the other party could then respond. See ECF Nos. 29
at 19, 30 at 11. Brooks filed objections to both Ré&Rs, ECF
Nos. 31, 32, and MartianCraft responded in turn, ECF No. 33, 34.
This Order only addresses the R&R regarding MartianCraft’s Motion
to Dismiss Brooks’ Counterclaim.
II. LEGAL STANDARDS
A. Motion to Dismiss
As the Magistrate Judge correctly set forth in the R&R, “[a]
motion under Rule 12(b) (6) argues the plaintiff failed to state a
claim upon which relief can be granted . . . . When considering a
motion to dismiss, courts test the sufficiency of the claims in
the complaint,” or, in this case, the counterclaim. ECF No. 30

at 5 (citing Fed. R. Civ. P. 12(b) (6) and ACA Fin. Guar. Corp. v.

City of Buena Vista, Va., 917 F.3d 206, 211 (4th Cir. 2019)).

At the motion to dismiss stage, “the court accepts facts
alleged in the complaint [or counterclaim] as true and views those
facts in the light most favorable to the plaintiff [or

counterclaimant].” Sturgill v. Norfolk Southern Ry. Co., 391 F.

Supp. 3d 598, 602 (E.D. Va. 2019) (Smith, J.) (internal citation
omitted). “To survive a motion to dismiss, a complaint [or
counterclaim] must contain sufficient factual matter, accepted as
true, to state a claim to relief that is plausible on its face.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal citation and

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quotation marks omitted). “[W]hen the pleaded factual content
allows the court to draw the reasonable inference that the
defendant is liable for the misconduct alleged,” then “[a] claim
has facial plausibility.” Id. at 663. When the facts only allow
the court to infer “the mere possibility of misconduct,” however,
then the plaintiff or counterclaimant has fallen short of his or
her burden. Id. at 679. It also is not enough for a plaintiff or
counterclaimant to simply provide “labels and conclusions” or “a
formulaic recitation of the elements of a cause of action.” Bell

v. Atl. Corp. v. Twombly, 550 U.S. 554, 555 (2007) (internal

citation omitted).
B. Resolving Objections to an R&R

When resolving objections to dispositive motions, such as a
motion to dismiss, a district judge “must determine de novo any
part of the magistrate judge’s disposition that has been properly
objected to.” Fed. R. Civ. Proc. 72(b)(3) (emphasis added). “A
general objection to the entirety of the magistrate judge's report
is tantamount to a failure to object,” as is “a mere restatement
of the arguments raised in the [motion to dismiss] filings.”

Nichols v. Colvin, 100 F. Supp. 3d 487, 497 (E.D. Va. 2015)

(Doumar, J.) (internal citations and quotation marks omitted).
When a party improperly objects, it has the same effect as failing
to object, and thus triggers a review under the clear error

standard. See Diamond v. Colonial Life & Accident Ins. Co., 416

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F.3d 310, 315 (4th Cir. 2005) (juxtaposing objections triggering
de novo review with those reviewed under the clear error standard);

Lee v. Saul, No. 2:18cv214, 2019 WL 3557876, at *1 (Davis, J.)

(quoting Veney v. Astrue, 539 F. Supp. 2d 841, 844-46 (W.D. Va.

2008) (“Allowing a litigant to obtain de novo review of her entire
case by merely reformatting an earlier brief as an objection makes
the initial reference to the magistrate useless.”) (internal

alterations and quotation marks omitted)); Pittard v. Berryhill,

No. 2:17cv71, 2018 WL 4219193, at *1 (E.D. Va. Sept. 5, 2018)
(Morgan, J.) (holding that “objections that simply reiterate
arguments raised before the magistrate judge are considered to be
general objections to the entirety of the report = and
recommendation, which are treated as waivers or failures to
object”) (internal citation and quotation marks omitted).
III. DISCUSSION

Brooks makes his intention clear at the very beginning of his
pleading; he is “object[ing] to this [c]Jourt’s [R&R] in its
entirety.” ECF No. 32 at 2. In reviewing Brooks’ filings with the
court, including his Counterclaim, ECF No. 9, Memorandum of Law in
Opposition to MartianCraft’s Motion to Dismiss, ECF No. 17, and
his Objections, ECF No. 32, as well as the transcript from the
Motion to Dismiss Hearing, ECF No. 28, it becomes obvious to the
court that Brooks attempts to, once again, get a “second bite at

the apple” through his Objections by raising the same issues and

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arguments that were considered and addressed by the Magistrate
Judge in great length when he ruled on MartianCraft’s Motion to
Dismiss.4 See Veney, 539 F. Supp. 2d at 845-46.

Brooks first objects to the Magistrate Judge’s recommendation
that Brooks is precluded from raising an indemnification claim
under the doctrine of collateral estoppel because, according to
Brooks, not a single element is satisfied. ECF No. 32 at 2-8. More
specifically, Brooks argues: (i) he has standing to challenge the
Richmond State Court’s reading of the OA regarding the
indemnification clause; (ii) he is not in privity with the other
parties in the Richmond State Court litigation; (iii) the factual
issues related to his Counterclaim were not litigated in Richmond
State Court; and (iv) there was no final judgment from the Richmond
State Court litigation as to Brooks. Id.

These are identical to the arguments that Brooks raised in
his Counterclaim, when opposing MartianCraft’s Motion to Dismiss,
and at the Motion to Dismiss Hearing. To illustrate this point,
the court turns to Brooks’ Objection regarding the Magistrate
Judge’s finding on privity. See id. at 3-5. To support his argument

that he is not in privity with the other parties in the Richmond

4 The court notes that this was the same tactic used by Brooks
when he objected to the Magistrate Judge’s R&R regarding Brooks’
Motion to Dismiss MartianCraft’s Amended Complaint. See ECF
No. 31. Therefore, the court takes the same position in this Order.
See ECF No. 35.
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State Court litigation, Brooks points to the fact that “[he] and
those individuals did not have a contractual relationship or owe
one another any kind of legal duty,” they did not share legal
interests, and “Brooks was dismissed as a party to the claim for
declaratory relief” (emphasis omitted) after the Richmond State
Court granted his motion to strike. Id. at 4-5. This issue was
again discussed in depth at the Motion to Dismiss Hearing, where
Brooks had an opportunity to present his arguments there. See ECF
No. 28 at 47-57. And then, in his Objection, Brooks repeats his
arguments verbatim, copying and pasting large portions of text
from his Memorandum of Law in Opposition to MartianCraft’s Motion
to Dismiss. Compare ECF No. 17 at 5-6, with ECF No. 32 at 3-5.
The same is true for Brooks’ Objections to the Magistrate
Judge’s findings that the factual issues relating to his
Counterclaim were previously litigated in Richmond State Court,
compare ECF No. 17 at 8-10, with ECF No. 32 at 5-7; see ECF No. 28
at 38-47, and that there was a final judgment from the Richmond
State Court litigation applicable to Brooks, compare ECF No. 17
at 7-8, with ECF No. 32 at 7-8; see ECF No. 28 at 38-40, 43-44.
Moreover, although not explicitly addressed in earlier pleadings,
Brooks also previously raised the same arguments to support the
position that he has standing to challenge the Richmond State
Court’s reading of the OA before the Magistrate Judge at the Motion

to Dismiss Hearing, compare ECF No. 28 at 43-47, with ECF No. 32
a

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at 3, an argument which the Magistrate Judge also rejected, see
ECF No. 30 at 7-8. Thus, Brooks’ Objection to the Magistrate
Judge’s recommendation that Brooks is precluded from raising an
indemnification claim under the doctrine of collateral estoppel,
where he asserts all the same arguments anew, has the same effect

as a failure to object to the R&R in this regard.° See Nichols,

100 F. Supp. 3d at 497.

Regarding Brooks’ Objection to the Magistrate Judge’s
recommendation that he cannot state a valid claim for breach of
contract, see ECF No. 32 at 9, this also has the same effect as a
failure to object. In raising this Objection, Brooks states “[f]or
all the reasons described above, Brooks is entitled to indemnity
pursuant to the express terms of the OA. MartianCraft has failed
to abide by the terms of the OA, and, as such, Brooks state a valid
claim for breach of contract.” Id.

First, this argument has been raised, considered, and
addressed several times, as it directly coincides with the
indemnification issue discussed above. This is yet another attempt
by Brooks to get a “second bite at the apple” by raising the same
issues and arguments on this point. See Veney, 539 F. Supp. 2d at
845-46. Moreover, this Objection equates to a “general objection”

that lacks any sort of specificity. See Nichols, 100 F. Supp. 3d

5 See supra Part II.B. (including the authority cited
therein).

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at 497. Accordingly, this second Objection also does not qualify
as a proper objection pursuant to Federal Rule of Civil Procedure
72 (b) (3).
IV. CONCLUSION

As the court previously recognized in its Order of July 27,
2023, regarding Brooks’ Objections to the R&R addressing his Motion
to Dismiss MartianCraft’s Amended Complaint, if the court were to
allow parties to relitigate every issue anew through R&R
objections, then this would cause a “duplication of time and
effort” and would “make[] the initial reference to the magistrate

useless.” Veney, 539 F. Supp. 2d at 846 (quoting Howard v. Sec'y

of Health & Hum. Servs., 932 F.2d 505, 509 (6th Cir. 1991))

(internal quotation marks and alteration omitted); see ECF No. 35
at 10-11. Once again, this is precisely what Brooks has attempted
to do.

Because Brooks failed to raise any proper objections due to
his merely restating earlier arguments already raised and
thoroughly addressed by the Magistrate Judge, as well as his
objecting to the entirety of the R&R, the district judge is only

required to review for clear error. See Tyler v. Wates, 84 Fed.

Appx. 289, 290 (4th Cir. 2003); Lee, 2019 WL 3557876, at *1 (citing
Veney, 539 F. Supp. 2d at 844-46). Having reviewed the record and
finding no clear error in the R&R, the court hereby ADOPTS the

findings and recommendations set forth in the thorough and

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well-reasoned R&R of the United States Magistrate Judge, filed on
June 8, 2023, ECF No. 30. Accordingly, MartianCraft’s Motion to
Dismiss Brooks’ Counterclaim, ECF No. 13, is GRANTED.‘

The Clerk is DIRECTED to forward a copy of this Order to
counsel for the parties.

IT IS SO ORDERED.

‘s/
Rebecca Beach Smith i

Senior United States District Judge

REBECCA BEACH SMITH
SENIOR UNITED STATES DISTRICT JUDGE

July 98, 2023

6 Even on de novo review with a proper objection, the court
FINDS the Magistrate Judge’s Report and Recommendation
well-reasoned and supported by the record and the applicable law.

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